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 IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF MARYLAND

MARYLAND SHALL ISSUE, INC., et al.,                                          *
                                                                             *
           Plaintiffs,                                                       *
                                                                             *          Consolidated Case Nos.
           v.                                                                *          21-cv-01736-TDC (L)
                                                                             *          8:22-cv-01967-DLB
MONTGOMERY COUNTY, MARYLAND                                                  *
                                                                             *
          Defendant.                                                         *

                                 EXHIBIT LIST
       DEFENDANT’S OPPOSITION TO PLAINTIFFS’ EMERGENCY MOTION
      FOR A RULE 8 INJUNCTION PENDING APPEAL AND MOTION TO STRIKE

Description                                                                                                          Exhibit Number

Defendant’s Motion to Strike Plaintiffs’ Supplemental Factual Allegations and
      Exhibits Contained in Plaintiffs’ Emergency Motion for a Rule 8 Injunction
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Plaintiffs’ Memorandum in Opposition to Defendant’s Motion to Strike, No. 23-1719,
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Defendant’s Reply to Plaintiffs’ Opposition to Motion to Strike Plaintiffs’
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1837 Md. Acts Ch. 100, An Act for the Preservation of Wild Fowl
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